     Case: 1:18-cv-03160 Document #: 17 Filed: 06/22/18 Page 1 of 3 PageID #:45



                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

NVN MANAGEMENT, LLC,                                )
d/b/a ARBOR LODGING MANAGEMENT,                     )
                                                    )
             Plaintiff,                             )             No. 18-cv-3160
                                                    )
             v.                                     )             Judge Lee
                                                    )
GLOBAL HOTEL SOLUTIONS, INC.,                       )
d/b/a HOTEL SOLUTIONS, INC., and                    )
FRAN MURR, CPA, CHAE,                               )
                                                    )
             Defendants.                            )

                            PLAINTIFF’S INITIAL STATUS REPORT

        Plaintiff NVN Management, LLC d/b/a Arbor Lodging Management hereby respectfully

submits the following Initial Status Report.

        1.        Plaintiff filed its Complaint on May 3, 2018.

        2.        Defendants timely waived service under Fed. R. Civ. P. 4(d). Plaintiff sent

Defendants its requests for waiver of service on May 8, 2018. Said waivers were filed on May 22,

2018.

        3.        The deadline for Defendants to answer or otherwise plead is July 7, 2018, 60 days

after Plaintiff sent its requests for waiver of service. Fed. R. Civ. P. 12(a)(1). July 7, 2018 is a

Saturday, so Defendants have until Monday, July 9, 2018 to answer or otherwise plead. Fed. R.

Civ. P. 6(a)(1).

        4.        The Court has set an initial status hearing for Thursday, June 28, 2018 at 9:00 a.m.

Pursuant to Judge Lee’s standing order regarding the “Mandatory Initial Discovery Pilot Project,”

it is the intent of the Court that the initial status hearing take place approximately 30 days after the

deadline for Defendants to answer or otherwise plead.              Thirty days after July 9, 2018 is
     Case: 1:18-cv-03160 Document #: 17 Filed: 06/22/18 Page 2 of 3 PageID #:46



Wednesday, August 8, 2018.



Dated: June 20, 2018                         Respectfully Submitted,

                                             NVN MANAGEMENT, LLC




                                             By:
                                                    One of its Attorneys

Robert H. Muriel (ARDC #6216589)
A&G Law LLC
542 S. Dearborn St., 10th Floor
Chicago, Illinois 60605
Telephone: (312) 341-3900
Facsimile: (312) 341-0700
rmuriel@aandglaw.com
    Case: 1:18-cv-03160 Document #: 17 Filed: 06/22/18 Page 3 of 3 PageID #:47



                              CERTIFICATE OF SERVICE

       The undersigned, an attorney, hereby certifies that a true and correct copy of the
foregoing Plaintiff’s Initial Status Report was served by Electronic Mail on June 22, 2018 to
the undersigned counsel:

      Jonathan Stark
      Daniel Stark Law, P.C.
      100 W. William Joel Bryan Parkway
      Bryan, TX 77803
      jstark@danielstarklaw.com




                                                   /s/ Robert H. Muriel
